    Case 2:10-md-02179-CJB-DPC Document 4457-7 Filed 11/01/11 Page 1 of 2




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                     §       MDL NO. 2179
“DEEPWATER HORIZON” IN THE GULF OF                  §
MEXICO, ON APRIL 20, 2010                           §       SECTION J
                                                    §
This Document Relates To:                           §
All cases, 2-10-cv-2771 and 2:10-cv-04536           §       JUDGE BARBIER
                                                    §
                                                    §       MAGISTRATE JUDGE SHUSHAN

          PROPOSED ORDER GRANTING TRANSOCEAN’S MOTION
                  FOR PARTIAL SUMMARY JUDGMENT
  AGAINST BP TO ENFORCE BP’S CONTRACTUAL OBLIGATIONS, INCLUDING
      BP’S OBLIGATION TO DEFEND, INDEMNIFY AND HOLD TRANSOCEAN
                  HARMLESS AGAINST POLLUTION CLAIMS


         The Court having considered Transocean’s Motion for Partial Summary Judgment

Against BP, and good cause appearing for same,

         IT IS HEREBY ORDERED that Transocean’s Motion for Partial Summary Judgment is

hereby granted. The Court hereby determines that there is no genuine dispute of material fact

with respect to the following issues, claims and/or defenses:

(1) The express indemnity promises made by BP in the Drilling Contract override any alleged

rights of BP to contribution;

(2) The indemnity provisions agreed to by BP in the Drilling Contract are valid and enforceable

against the OPA statutory backdrop, including indemnity for the uncapped liability that arises

upon a finding that an incident resulted from gross negligence;

(3) BP’s contribution claims are barred by BP’s contractual promise to defend Transocean, and

BP must defend Transocean against environmental wellhead pollution claims pending against it

that arise from the Macondo blowout;


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    Case 2:10-md-02179-CJB-DPC Document 4457-7 Filed 11/01/11 Page 2 of 2


(4) BP cannot avoid its contractual promise by alleging that Transocean breached the Drilling

Contract or that the Deepwater Horizon was unseaworthy;

(5) BP cannot avoid its contractual promise by alleging that Transocean or its employees were

grossly negligent;

(6) BP is required to honor its promise to indemnify Transocean for CWA (and any other) civil

penalties on account of pollution or contamination from the Macondo well;

(7) BP is required to honor its promise to pay the unpaid invoices referenced in Transocean’s

Motion for Partial Summary Judgment and the Memorandum in Support thereof;

(8) As a result of BP’s failure to honor its promises in each of the above areas, BP be required to

reimburse Transocean its attorneys’ fees, costs, and expenses incurred in defending

environmental claims for which BP is contractually obligated and those incurred in forcing BP to

honor its contractual promises;



         IT IS SO ORDERED.

         New Orleans, Louisiana, this ___ day of ______________, 2011.



                                                     ___________________________________
                                                           CARL J. BARBIER




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